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                                                      Minimum Mandatory
                                                             Rule35/5K1.1    X

                                                            Appeal Waiver X
                                                                     Other   X




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


UNITED STATES OF AMERICA



       V.                                         Case No. 2:18-cr-050


TIMOTHY JOHN SALLINS

                          SUMMARY OF PLEA AGREEMENT



DEFENSE COUNSEL:


James B. McGhee, III

STATUTES CHARGED:


Count 1-21 U.S.C. §846 — Conspiracy to Possess with Intent to Distribute of Crack
Cocaine (u iiuanljllfj)             CoCOuOfi

Count 18- 18 U.S.C. §922(g)(l)- Possession of a Firearm by a Prohibited Person

COUNT PLEADING TO:


Count 1-21 U.S.C. §846 — Conspiracy to Possess with Intent to Distribute Cocaine
(a quantity)


STATUTORY PENALTIES:
Imprisonment of not more than 20 years;
Fine of not more than $1,000,000;
Supervised release term of at least 3 years;
$100 special assessment.




*Other-FOIA and Fed. R. Crim. P. 11(f) waivers
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ELEMENTS OF THE OFFENSE:



    First:       That two or more people in some way agreed to try to accomplish
                 a shared and unlawful plan to possess quantities of a mixture or
                 substance containing detectable amount of cocaine, a Schedule
                 II controlled substance;

    Second:      That the Defendant knew the unlawful purpose of the plan and
                 willfully joined in it; and

    Third:       That the object of the unlawful plan was to possess with the
                 intent to distribute and distribute the cocaine.



TERMS OF PLEA AGREEMENT:


  •Defendant wiU plead guilty to Count 1 of the Supers^ing Indictment.
                                        Wsser                       df
  •At sentencing, the government will move to dismiss any other Counts of the
    Superseding Indictment that remain pending against this Defendant.

  • Defendant agrees to provide full, complete, candid, and truthful cooperation to
     the government. The government, in its sole discretion, will decide whether
     that cooperation qualifies as "substantial assistance" that warrants the filing
     of a motion for downward departure or reduction in sentence.

  • The government will not object to a recommendation by the U.S. Probation
     Office that Defendant receive an appropriate reduction in offense level for
     acceptance of responsibility pursuant to Section 3E1.1 of the Sentencing
     Guidelines.


  •Defendant waives his right to appeal on any ground, with only three
    exceptions: he may appeal his sentence if (1) that sentence exceeds the
    statutory maximum,(2)that sentence exceeds the advisory Guidelines range
    determined by this Court at sentencing, or (3) the government appeals. By
     signing the plea agreement. Defendant explicitly instructs his attorney not
     to file an appeal unless one of the three exceptions is met.
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 Defendant entirely waives his right to collaterally attack his conviction and
  sentence on any ground and by any method, including but not limited to a 28
  U.S.C. § 2255 motion. The only exception is that Defendant may collaterally
   attack his conviction and sentence based on a claim of ineffective assistance
   of counsel.


 Defendant waives all rights to request information about the investigation and
  prosecution of his case under the Freedom of Information Act or the Privacy
   Act.


 Defendant waives the protections of Rule 11(f) of the Federal Rules of Criminal
   Procedure and Rule 410 of the Federal Rules of Evidence. If he fails to plead
   guilty, or later withdraws his guilty plea, all statements made by him in
   connection with that plea, and any leads derived therefrom, shall be
   admissible for any and all purposes.

 The government agrees not to file a Title 21, section 851 enhancement against
  this defendant, if applicable.


 The government and the Defendant agree for purposes of calculating the
  defendant's offense level only, the Defendant should not receive a 2-level
  enhancement for his offense level for possession of the shotgun that is the
  subject of Count 18 of the Superseding Indictment.
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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION

UNITED STATES OF AMERICA



       V.                                             Case No. 2;18-cr-050


TIMOTHY JOHN SALLINS



                                PLEA AGREEMENT


      Defendant TIMOTHY JOHN SALLINS,represented by his counsel James B.

McGee,III, and the United States ofAmerica,represented by Assistant United States

Attorneys Jennifer J, Kirkland and Marcela C. Mateo, have reached a plea agreement

in this case. The terms and conditions of that agreement are as follows:

1.    COUNTS TO WHICH DEFENDANT PLEADS GUILTY


      Defendant agrees to enter a plea of guilty to^Count 1 of the Supers^ng               r-

Indictment, which charges violations of Title 21, United States Code, Section 846.

2.    ELEMENTS AND FACTUAL BASIS


      The elements necessary to prove Count 1 are (1) That two or more people in

some way agreed to try to accomplish a shared and unlawful plan to possess a mixture

or substance containing a detectable amount of cocaine, a Schedule II controlled

substance; and (2) That the Defendant knew the unlawful purpose of the plan and

willfully joined in it; and (3) That the object of the unlawful plan was to possess with

the intent to distribute and distribute the cocaine. Defendant agrees that he is, in
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fact, guilty of this offense. He agrees to the accuracy of the following facts, which

satisfy each of the offense's required elements:

      Beginning on a date unknown to the Grand Jury, but as early as October 2017,

up to November 2018, the precise dates being unknown, in Glynn County and

surrounding counties, within the Southern District of Georgia, and elsewhere, the

defendant, TIMOTHY JOHN SALLINS, aided and abetted by the co-defendants

and by others known and unknown, did knowingly and intentionally combine,

conspire, confederate and agree together and with each other, and with others known

and unknown, to possess with the intent to distribute and distribute the cocaine. All

in violation of Title 21, United States Code, Sections 841(a)(1) and 846.

3.    POSSIBLE SENTENCE                            . (T    ^ c.

      Defendant's guilty plea t^Count 1 will subject him to the following maximum
possible sentence: Imprisonment of not more than 20 years, a supervised release

term of at least 3 years, a $1,000,000 fine, such restitution as may be ordered by the

Court, and forfeiture of all forfeitable assets. The Court additionally must impose a

$100 special assessment.

4.    NO PROMISED SENTENCE


      No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

Government, the U.S. Probation Office, or anyone else. The Court may impose a
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sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.    COURT'S USE OF SENTENCING GUIDELINES

      The Court is obligated to use the United States Sentencing GuideUnes to

calculate the applicable guideline range for Defendant's offense. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest.      The Court will consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18

U.S.C. § 3553(a), in determining the Defendant's sentence.           The Sentencing

Guidelines are based on^of Defendant's relevant conduct, pursuant to U.S.S.G. §

IB 1.3, not just the conduct underlying the particular Count or Counts to which

Defendant is pleading guilty.

6.    AGREEMENTS REGARDING SENTENCING GUIDELINES

      a.     Use ofInformation

      Nothing in this agreement precludes the Government from providing full and

accurate information to the Court and U.S. Probation Office for use in calculating the

applicable Sentencing Guidelines range.

      b.     Acceptance of Responsibility

      The Government will not object to a recommendation by the U.S. Probation

Of&ce that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3E1.1(a) of the Sentencing Guidelines. If the U.S.

Probation Of&ce makes that recommendation, and Defendant's offense level is 16 or
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greater prior to any reduction for acceptance of responsibility, the Government will

move for an additional one-level reduction in offense level pursuant to Section

3E 1.1(b) of the Sentencing Guidelines based on Defendant's timely notification of his

intention to enter a guilty plea.

               c. Offense Enhancement re: Dangerous Weapon pursuant to U.S.S.G.

2DL 1(b)(1).

      Both parties agree, that as a part of this plea agreement, for purposes of

calculating the Defendant's offense level only, the Defendant should not receive a

two-level increase in his offense level for possession ofthe shotgun that was recovered

on November 15, 2018 as outlined in Count Eighteen of the Superseding Indictment.

7.    DISMISSAL OF OTHER COUNTS

      At sentencing, the Government will move to dismiss any other Counts of the

Indictment that remain pending against Defendant, if applicable.

8.    COOPERATION


      a.       Complete and Truthful Cooperation Required

      Defendant must provide full, complete, candid, and truthful cooperation in the

investigation and prosecution of the offenses charged in the Superseding Indictment

and any related offenses. Defendant shall fully and truthfully disclose his knowledge

ofthose offenses and shall fully and truthfully answer any question put to him by law

enforcement officers about those offenses.


      This agreement does not require Defendant to "make a case" against any

particulEir person. His benefits under this agreement are conditioned only on his
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cooperation and truthfulness, not on the outcome of any trial, grand jury, or other

proceeding.




      b.      Motion for Reduction in Sentence Based on Cooperation

      The government will advise the Court at sentencing of the extent and value

of any information, cooperation, or assistance in the investigation and prosecution

of others provided by the defendant.

      Ifthe defendant's cooperation is completed prior to sentencing, the government

agrees to consider whether such cooperation qualifies as "substantial assistance"

pursuant to 18 U.S.C. section 3553(e) and U.S.S.G."5X1.1" and under the policies of

the United States Attorney's Office for the Southern District of Georgia warrants the

filing of a motion for downward departure from the applicable sentencing guideline

range and departure below any apphcable statutory mandatory minimum sentence.

If the defendant's cooperation is completed or likely to be completed subsequent to

sentencing, the government agrees to consider whether such cooperation qualifies as

"substantial assistance" pursuant to 18 U.S.C. section 3553(e) and Rule 35,

Fed.R.Crim.P. and under the policies of the United States Attorney's Office for the

Southern District of Georgia warrants the filing of a motion for downward departure

from the applicable sentencing guideline range and departure below any applicable

statutory mandatory minimum sentence, within one year of the imposition of

sentence.
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       In either case, the defendant understands that the determination as to

whether the defendant has provided "substantial assistance" rests solely with the

government. If the government files a motion for downward departure pursuant to

this agreement, the government reserves the right to either take no position as to the

appropriate amount of departure and defer entirely to the Court, or, in its discretion,

to make any recommendation it deems appropriate respecting the degree of

departure.

       The defendant fully understands that whether or not the sentencing court

decides to depart downward below a guideline range or statutory minimum sentence,

or reduce the defendant's sentence, as well as the extent of any such downward

departure or reduction, is completely within the sentencing court's discretion, and

that the Court is not bound to accept any recommendation by the government.

9.    FORFEITURE


       a.    Defendant agrees to forfeit his interest in any property constituting, or

derived from, any proceeds obtained, directly or indirectly, as a result of the Title 21

offense to which he has agreed to plead guilty, and any property used, or intended to

be used,in any manner or part, to commit, or facilitate the commission ofthat offense,

including: a New England 12 gauge shotgun. Model Pardner, bearing serial number

NS200352, and all related ammunition,(hereinafter, the "Subject Property").

      b.     Defendant states that he is the sole and rightful owner of the Subject

Property, that, to the best of his knowledge, no other person or entity has any interest

in the Subject Property, and that he has not transferred, conveyed, or encumbered
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his interest in the Subject Property. Defendant waives and abandons all right, title,

and interest in the Subject Property. Defendant agrees to take all steps requested by

the government to facilitate transfer of title of the Subject Property to the

government. Defendant further agrees not to file any claim, answer, or petition for

remission or mitigation in any administrative or judicial proceeding pertaining to the

Subject Property. If any such document has already been filed. Defendant hereby

withdraws that filing.

      c.     Defendant agrees to hold the government and its agents and employees

harmless from any claims made in connection with the seizure, forfeiture, or disposal

of property connected to this case.       Defendant further agrees to waive the

requirements of the Federal Rules of Criminal Procedure 32.2 and 43(a) regarding

notice of the forfeiture in the charging instrument, announcement of the forfeiture at

sentencing, and incorporation of the forfeiture in the judgment.

      d.     Defendant waives and abandons his interest in any other property that

may have been seized in connection with this case. Additionally, Defendant waives

any and all challenges on any grounds to the seizure, forfeiture, and disposal of any

property seized in connection with this case. Defendant specifically agrees to waive

any challenges arising under the Double Jeopardy Clause of the Fifth Amendment

and the Excessive Fines Clause of the Eighth Amendment.
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10.    FINANCIAL OBLIGATIONS AND AGREEMENTS

       a.    Restitution


      The amount of restitution ordered by the Court shall include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not limited to

the specific counts to which Defendant is pleading guilty. Any restitution judgment

is intended to and will survive Defendant, notwithstanding the abatement of any

underlying criminal conviction.

      b.     Special Assessment

      Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

      c.     Required Financial Disclosures

      By the date that Defendant enters a guilty plea, Defendant shall complete a

financial disclosure form listing all his assets and financial interests, whether held

directly or indirectly, solely or jointly, in his name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of perjury and

provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United


States to obtain credit reports on Defendant and to share the contents ofthose reports

with the Court and the United States Probation Office. Defendant also authorizes


the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.



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        d.    Financial Examination


        Defendant will submit to an examination under oath on the issue of his


financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        e.    No Transfer of Assets

        Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon him by the Court at

sentencing. Defendant promises that he will make no such transfers in the future.

        f.    Material Change in Circumstances

        Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.

        g.    Enforcement

        Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by the judgment ofthe

Court in this case will be placed on the Treasury Offset Program so that any federal




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payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

11.    WAIVERS


       a.     Waiver ofAppeal

       Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

faU within the scope ofthe statute). The only exceptions are that the Defendant may

file a direct appeal of his sentence if(1)the court enters a sentence above the statutory

maximum,(2) the court enters a sentence above the advisory Sentencing Guidehnes

range found to apply by the court at sentencing; or (3) the Government appeals the

sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his

attorney not to file an appeal.

      b.     Waiver of Collateral Attack

      Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not Umited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.


      c.     FOIA and Privacy Act Waiver

      Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution of this case under the


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authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974,5 U.S.C. § 552a, and all subsequent amendments thereto,

       d.     Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 Waiver

       Rule 11(Q of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

12.   DEFENDANT'S RIGHTS


      Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

13.   SATISFACTION WITH COUNSEL

      Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that his attorney has represented his faithfully, skillfully, and




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diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.

14.   21 U.S.C. SECTION 851 ENHANCEMENT

      The Government agrees not to file a Title 21, Section 851 enhancement against

the Defendant, if applicable.

15.   BREACH OF PLEA AGREEMENT

      If Defendant fails to plead guilty, withdraws or attempts to withdraw his guilty

plea, commits any new criminal conduct following the execution ofthis agreement, or

otherwise breaches this agreement, the Government is released from all of its

agreements regarding Defendant's sentence, including any agreements regarding the

calculation of Defendant's advisoiy Sentencing Guidelines.         In addition, the

Government may declare the plea agreement null and void, reinstate any counts that

may have been dismissed pursuant to the plea agreement, and/or file new charges

against Defendant that might otherwise be barred by this plea agreement. Defendant

waives any statute-of-limitations or speedy trial defense to prosecutions reinstated

or commenced under this paragraph.




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16.    ENTIRE AGREEMENT


       This agi'eement contains the entire agreement between the Government and

Defendant. The Government has made no promises or representations except those

set forth in writing in this Plea Agreement. The Government further denies the

existence of any other terms or conditions not stated herein. No other promises,

terms or conditions will be entered into unless they are in writing and signed by all

the parties.

                                       BOBBY L. CHRISTINE
                                       UNITED^AT.E^^TORNEY



Date                                  6nan "^Raff
                                      Chief, Criminal Division



315 ll^
Date                                    ennifer       dand
                                        ssista             )tates Attorney




Date                                     ircela C. Mateo
                                       Assistant United States Attorney




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       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




ihli
Date                                    Timothy John Sallins
                                        Defendant




       I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I believe that he fully and

completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary one.




Date                                    fam^ B. McGee, I
                                        Defendant's Attorney




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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION


UNITED STATES OF AMERICA

                                                    INDICTMENT
V.                                                  Case No. 2:18 CR 50


TIMOTHY JOHN SALLINS




                                      ORDER


       The aforesaid Plea Agi'eement, having been considered by the Court in

conjunction with the interrogation by the Coiut ofthe Defendant and the Defendant's

attorney at a hearing on the Defendant's motion to change his plea and the Court

finding that the plea of guilty is made freely, voluntarily and knowingly, it is

thereupon,

       ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agi'eement be, and it is, hereby ratified and confirmed.



             This         day of May, 2019.




                                HONORABLE LISA GODBEY WOOD
                                UNITED STATES DISTRICT COURT JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
